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                 https://search.bexar.org/Case/CaseDetail?r=fc7efdd3-5c81-448a-9b32-0effcc8e8636&cs=2020CI19387&ct=&&p=2_2020CI19387++++D…




   Case #2020CI19387
   Name: JACQUE CALLANEN

   Date Filed : 10/6/2020

   Case Status : PENDING

   Litigant Type : DEFENDANT

   Court : 045

   Docket Type : OTHER CIVIL CASES

   Business Name :

   Style : TEXAS ORGANIZING PROJECT ET AL

   Style (2) : vs JACQUE CALLANEN




https://search.bexar.org/Case/CaseDetail?r=fc7efdd3-5c81-448a-9b32-0effcc8e8636&cs=2020CI19387&ct=&&p=2_2020CI19387++++DC0000400000    1/2
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                https://search.bexar.org/Case/CaseDetail?r=fc7efdd3-5c81-448a-9b32-0effcc8e8636&cs=2020CI19387&ct=&&p=2_2020CI19387++++D…




   Case History
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     Sequence                                  Date Filed                                Description

    P00001                                    10/6/2020                                 PETITION




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